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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 DISPLAY TECHNOLOGIES, INC.,                        §
                                                    §
        Plaintiff,                                  §
                                                    §        Case No. 2:17-CV-070-JRG-RSP
        v.                                          §
                                                             LEAD CASE
 HTC AMERICA, INC., et al.,

        Defendants.

                                         DISCOVERY ORDER

        After a review of the pleaded claims and defenses in this action, in furtherance of the

 management of the Court’s docket under Federal Rule of Civil Procedure 16, and after receiving

 the input of the parties to this action, it is ORDERED AS FOLLOWS:

 1.     Initial Disclosures.         In lieu of the disclosures required by Federal Rule of Civil

        Procedure 26(a)(1), each party shall disclose to every other party the following

        information:

        (a)     the correct names of the parties to the lawsuit;

        (b)     the name, address, and telephone number of any potential parties;

        (c)     the legal theories and, in general, the factual bases of the disclosing party’s claims

                or defenses (the disclosing party need not marshal all evidence that may be

                offered at trial);

        (d)     the name, address, and telephone number of persons having knowledge of

                relevant facts, a brief statement of each identified person’s connection with the

                case, and a brief, fair summary of the substance of the information known by any

                such person;
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        (e)     any indemnity and insuring agreements under which any person or entity carrying

                on an insurance business may be liable to satisfy part or all of a judgment entered

                in this action or to indemnify or reimburse for payments made to satisfy the

                judgment;

        (f)     any settlement agreements relevant to the subject matter of this action; and

        (g)     any statement of any party to the litigation.

 2.     Disclosure of Expert Testimony. A party must disclose to the other parties the identity

        of any witness it may use at trial to present evidence under Federal Rule of Evidence 702,

        703 or 705, and:

        (a)     if the witness is one retained or specially employed to provide expert testimony in

                the case or one whose duties as the party’s employee regularly involve giving

                expert testimony, provide the disclosures required by Federal Rule of Civil

                Procedure 26(a)(2)(B) and Local Rule CV-26; and

        (b)     for all other such witnesses, provide the disclosure required by Federal Rule of

                Civil Procedure 26(a)(2)(C).

 3.     Additional Disclosures. Without awaiting a discovery request,1 each party will make the

        following disclosures to every other party:

        (a)     provide the disclosures required by the Patent Rules for the Eastern District of

                Texas with the following modifications to P.R. 3-1 and P.R. 3-3:

                  i.   If a party claiming patent infringement asserts that a claim element is a

                       software limitation, the party need not comply with P.R. 3-1 for those

                       claim elements until 30 days after source code for each Accused
        1
          The Court anticipates that this disclosure requirement will obviate the need for requests
 for production.



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                      Instrumentality is produced by the opposing party. Thereafter, the party

                      claiming patent infringement shall identify, on an element-by-element

                      basis for each asserted claim, what source code of each Accused

                      Instrumentality allegedly satisfies the software limitations of the asserted

                      claim elements.

                ii.   If a party claiming patent infringement exercises the provisions of

                      Paragraph 3(a)(i) of this Discovery Order, the party opposing a claim of

                      patent infringement may serve, not later than 30 days after receipt of a

                      Paragraph 3(a)(i) disclosure, supplemental “Invalidity Contentions” that

                      amend only those claim elements identified as software limitations by the

                      party claiming patent infringement.

       (b)    produce or permit the inspection of all documents, electronically stored

              information, and tangible things in the possession, custody, or control of the party

              that are relevant to the pleaded claims or defenses involved in this action, except

              to the extent these disclosures are affected by the time limits set forth in the Patent

              Rules for the Eastern District of Texas; and

       (c)    provide a complete computation of any category of damages claimed by any party

              to the action, and produce or permit the inspection of documents or other

              evidentiary material on which such computation is based, including materials

              bearing on the nature and extent of injuries suffered, except that the disclosure of

              the computation of damages may be deferred until the time for Expert Disclosures

              if a party will rely on a damages expert.

 4.    Protective Orders. The Court will enter the parties’ Agreed Protective Order.




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 5.    Discovery Limitations.     The discovery in this cause is limited to the disclosures

       described in Paragraphs 1-3 together with:

       (a)    Interrogatories.    Each side may serve up to 15 common interrogatories.

              Additionally, each Defendant can propound up to 10 additional individual

              interrogatories, and Plaintiff may serve up to an additional 10 individual

              interrogatories per Defendant.    For purposes of this Discovery Order, “side”

              means a party or a group of parties with a common interest.

       (b)    Request for Admission.        There is no limit on the number of requests for

              admission the parties may serve to establish the authenticity of documents.

       (c)    Expert Depositions and Limits. Depositions of expert witnesses shall be limited

              to seven (7) hours per witness per expert report per Defendant on a separate

              subject matter (e.g., if a Defendant’s expert opines on both non-infringement and

              invalidity, fourteen (14) hours of deposition testimony would be permitted). The

              number of deposition hours may be modified by agreement of the parties or

              further order of the Court. If any party requests more than the allotted time for a

              particular deposition or if any side seeks more than the number of designated

              hours set forth herein, the parties agree to meet and confer in good faith to attempt

              to resolve the issue without the need for intervention by the Court. Plaintiff will

              have no more than 4 expert witnesses per Defendant. Defendants will have no

              more than 4 expert witnesses per Defendant.

       (d)    Fact Depositions. Plaintiff shall take no more than 45 hours of 30(b)(6) and

              30(b)(1) depositions per Defendant. Defendants, collectively, shall take no more

              than 90 hours of 30(b)(6) and 30(b)(1) depositions of Plaintiff, where each




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              Defendant shall be entitled to a proportionate share of that deposition time, unless

              otherwise agreed to by the Defendants.         Plaintiff and Defendants will each

              additionally have a maximum of 60 hours of third party depositions. Third party

              depositions on validity and other common issues can be relied upon by

              Defendants that did not take the deposition, subject to any confidentiality

              restrictions. If additional time is necessary, the parties shall meet and confer in

              good faith in order to reach an agreement. If the parties cannot agree, the Court

              will consider reasonable requests for additional time. Each side should make a

              good faith effort to work together to avoid the need for duplicative depositions.

              Any party may later move to modify these limitations for good cause.

 6.    Privileged Information.       There is no duty to disclose privileged documents or

       information. However, the parties are directed to meet and confer concerning privileged

       documents or information after the Status Conference. By the deadline set in the Docket

       Control Order, the parties shall exchange privilege logs identifying the documents or

       information and the basis for any disputed claim of privilege in a manner that, without

       revealing information itself privileged or protected, will enable the other parties to assess

       the applicability of the privilege or protection. Any party may move the Court for an

       order compelling the production of any documents or information identified on any other

       party’s privilege log. If such a motion is made, the party asserting privilege shall respond

       to the motion within the time period provided by Local Rule CV-7. The party asserting

       privilege shall then file with the Court within 30 days of the filing of the motion to

       compel any proof in the form of declarations or affidavits to support their assertions of




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       privilege, along with the documents over which privilege is asserted for in camera

       inspection.

 7.    Signature. The disclosures required by this Order shall be made in writing and signed by

       the party or counsel and shall constitute a certification that, to the best of the signer’s

       knowledge, information and belief, such disclosure is complete and correct as of the time

       it is made. If feasible, counsel shall meet to exchange disclosures required by this Order;

       otherwise, such disclosures shall be served as provided by Federal Rule of Civil

       Procedure 5. The parties shall promptly file a notice with the Court that the disclosures

       required under this Order have taken place.

 8.    Duty to Supplement. After disclosure is made pursuant to this Order, each party is

       under a duty to supplement or correct its disclosures immediately if the party obtains

       information on the basis of which it knows that the information disclosed was either

       incomplete or incorrect when made, or is no longer complete or true.

 9.    Discovery Disputes.

       (a)    Except in cases involving claims of privilege, any party entitled to receive

              disclosures (“Requesting Party”) may, after the deadline for making disclosures,

              serve upon a party required to make disclosures (“Responding Party”) a written

              statement, in letter form or otherwise, of any reason why the Requesting Party

              believes that the Responding Party’s disclosures are insufficient. The written

              statement shall list, by category, the items the Requesting Party contends should

              be produced. The parties shall promptly meet and confer. If the parties are

              unable to resolve their dispute, then the Responding Party shall, within 14 days

              after service of the written statement upon it, serve upon the Requesting Party a




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             written statement, in letter form or otherwise, which identifies (1) the requested

             items that will be disclosed, if any, and (2) the reasons why any requested items

             will not be disclosed. The Requesting Party may thereafter file a motion to

             compel.

       (b)   An opposed discovery related motion, or any response thereto, shall not exceed 7

             pages. Attachments to a discovery related motion, or a response thereto, shall not

             exceed 5 pages. No further briefing is allowed absent a request or order from the

             Court.

       (c)   Prior to filing any discovery related motion, the parties must fully comply with

             the substantive and procedural conference requirements of Local Rule CV-7(h)

             and (i). Within 72 hours of the Court setting any discovery motion for a hearing,

             each party’s lead attorney (see Local Rule CV-11(a)) and local counsel shall meet

             and confer in person or by telephone, without the involvement or participation of

             other attorneys, in an effort to resolve the dispute without Court intervention.

       (d)   Counsel shall promptly notify the Court of the results of that meeting by filing a

             joint report of no more than two pages. Unless excused by the Court, each party’s

             lead attorney shall attend any discovery motion hearing set by the Court (though

             the lead attorney is not required to argue the motion).

       (e)   Any change to a party’s lead attorney designation must be accomplished by

             motion and order.

       (f)   Counsel are directed to contact the chambers of the undersigned for any “hot-line”

             disputes before contacting the Discovery Hotline provided by Local Rule CV-




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                 26(e). If the undersigned is not available, the parties shall proceed in accordance

                 with Local Rule CV-26(e).

    10.   No Excuses. A party is not excused from the requirements of this Discovery Order

          because it has not fully completed its investigation of the case, or because it challenges

          the sufficiency of another party’s disclosures, or because another party has not made its

.         disclosures. Absent court order to the contrary, a party is not excused from disclosure

          because there are pending motions to dismiss, to remand or to change venue.

    11.   Filings. Only upon request from chambers shall counsel submit to the court courtesy

          copies of any filings.

    12.   Proposed Stipulations by the Parties Regarding Discovery. The parties believe entry

          of an Order Regarding E-Discovery in Patent Cases is appropriate and will be submitting

          such an order to the Court.


    IT IS SO ORDERED.
           SIGNED this 3rd day of January, 2012.
          SIGNED this 15th day of June, 2017.




                                                       ____________________________________
                                                       ROY S. PAYNE
                                                       UNITED STATES MAGISTRATE JUDGE




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